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Debtor1 Peter C. Largent

Debtor 2 Mylene N. Largent
(Spouse, if filing)

United States Bankruptcy Court for the: District of CONNECTICUT
(State)

Case number 18-21923

Official Form 41082
Notice of Postpetition Mortgage Fees, Expenses, and Charges 12/16

If the debtors’ plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtors’
principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy filing that you
assert are recoverable against the debtor or against the debtors’ principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

Name of creditor: FREEDOM MORTGAGE CORPORATION ~— Court claim no. (if known) 12

Last four digits of any number you XXXXXX9354
use to identify the debtors’ account:

Does this notice supplement a prior notice of postpetition fees, expenses,
and charges?

O No

Yes. Date of the last notice: July 27, 2020

toe Itemize Postpetition Fees, Expenses, and Charges

Itemize the fees, expenses, and charges incurred on the debtor's mortgage account after the petition was filed. Do not include any escrow
account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy court.

Description Dates incurred Amount
1. Late charges (1) $ 0.00
2. Non-sufficient funds (NSF) fees (2) $ 0.00
3. Attorney fees 1/18/2024 (3) $ 1,050.00
4. Filing fees and court costs 1/18/2024 (4) $ 199.00
5. | Bankruptcy/Proof of claim fees (5) $ 0.00
6. _ Appraisal/Broker's price opinion fees (6) $ 0.00
7. Property inspection fees (7) $ 0.00
8. Tax advances (non-escrow) (8) $ 0.00
9. Insurance advances (non-escrow) (9) $ 0.00
10. Property preservation expenses. Specify: (10) §$ 0.00

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.

If the court has previously approved an amount, indicate that approval in parentheses after the date the amount was incurred.

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Debtor 1 Peter C. Largent Case number (if known) 18-21923

First Name Middle Name Last Name

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number if different from the notice address listed on the proof of claim to which this Supplement applies.

Check the appropriate box.

Olam the creditor.
| am the creditor's authorized agent.

| declare under penalty of perjury that the information provided in this Notice is true and correct to the best
of my knowledge, information, and reasonable belief.

X ~ss/Linda St. Pierre Date 04/03/2024
Signature
Print: Linda St. Pierre Title Authorized Agent
First Name Middle Name Last Name

Company McCalla Raymer Leibert Pierce, LLC

Address 1544 Old Alabama Road

Number Street
Roswell GA 30076
City State ZIP Code
Contact phone 860-240-9156 Email Linda. St.Pierre@mccalla.com
Official Form 41082 Notice of Postpetition Mortgage Fees, Expenses, and Charges page 2

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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF CONNECTICUT

In re: )
) Case No. 18-21923
Peter C. Largent ) Chapter 13
Mylene N. Largent )
) JUDGE: James J. Tancredi
EXHIBIT B
ITEMIZATION OF CLAIM
Attorney Fees $1,050.00
01/18/2024 Preparation of Motion for Relief $1,050.00
Filing Fees and Court Costs $199.00
01/18/2024 Filing of Motion for Relief $199.00
e TOTAL POSTPETITION FEES, EXPENSES, AND CHARGES: $1,249.00

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid. See 11
U.S.C. § 1322 (b)(5) and Bankruptcy Rule 3002.1
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Bankruptcy Case No.: 18-21923
In Re: Chapter: 13
Peter C. Largent Judge: James J. Tancredi
Mylene N. Largent

CERTIFICATE OF SERVICE

I, Linda St. Pierre, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road, Roswell,
GA 30076, certify:

That I am, and at all times hereinafter mentioned, was more than 18 years of age;

That on the date below, I caused to be served a copy of the within NOTICE OF POSTPETITION
MORTGAGE FEES, EXPENSES, AND CHARGES filed in this bankruptcy matter on the following
parties at the addresses shown, by regular United States Mail, with proper postage affixed, unless another
manner of service is expressly indicated:

Peter C. Largent
22 Drury Lane
New Britain, CT 06053

Mylene N. Largent
22 Drury Lane
New Britain, CT 06053

Jonathan G. Cohen (Served via ECF at jgcohen@yahoo.com)
2 Congress Street
Hartford, CT 06114

Roberta Napolitano (Served via ECF at notices@ch13rn.com)
Chapter 13 Trustee

10 Columbus Boulevard

Ste 6th Floor

Hartford, CT 06106

U. S. Trustee (Served via ECF at USTPRegion02.NH.ECF@USDOJ.GOV)
Office of the U.S. Trustee

Giaimo Federal Building

150 Court Street, Room 302

New Haven, CT 06510

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.

Executed on: 04/11/2024 By: /s/Linda_ St. Pierre
(date) Linda St. Pierre
Authorized Agent for Freedom Mortgage Corporation

